               Case 5:21-cv-09775-EJD Document 28 Filed 03/16/22 Page 1 of 4



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                           IN THE UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19

20
     KEEP TRUCKIN, INC..                          CASE NO. 5:21-CV-09775-EJD
21
            Plaintiff,                            PLAINTIFF’S OPPOSED MOTION TO
22                                                EXTEND TIME TO RESPOND TO
     v.                                           MOTION TO DISMISS PURSUANT TO
23                                                CIVIL L.R. 6-2(a); [PROPOSED] ORDER
     FLEET CONNECT SOLUTIONS LLC,
24                                                Judge:               Hon. Edward J. Davila
            Defendant.
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                PLAINTIFF’S OPPOSED MOTION TO EXTEND TIME TO RESPOND TO MOTION TO DISMISS
                                        PURSUANT TO CIVIL L.R. 6-2(a)
                 Case 5:21-cv-09775-EJD Document 28 Filed 03/16/22 Page 2 of 4




            Plaintiff Keep Truckin, Inc. (“Plaintiff”), by and through its counsel of record, hereby
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2    moves for a short, 3-day extension of time to respond to Defendant’s Motion to Dismiss,

3    extending the current deadline from March 15, 2022 to March 18, 2022. In support of its

4    Motion, Plaintiff states as follows:
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            1.       On February 22, 2022, Defendant filed a Motion to Dismiss the Complaint
6
     pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(3) (Dkt. 17; “Motion”).
7
            2.       Pursuant to Civil L.R. 7-3(a), Plaintiff’s Opposition to the Motion was originally
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     due on March 8, 2022.
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10          3.       On March 4, 2022, pursuant to Civil L.R. 6-2(a), Plaintiff filed a joint stipulation

11   seeking to extend the deadline to file its Opposition to the Motion from March 8, 2022 to March
12   15, 2022. The Court granted that stipulation (Dkt. 20).
13
            4.       Due to unexpected circumstances arising in another of Plaintiff’s counsel’s cases,
14
     Plaintiff is seeking an additional 3-day extension.
15
            5.       Plaintiff asked Defendant whether it would agree to the 3-day extension, but
16

17   Defendant has indicated that it opposes the extension. See Exhibit 1 attached hereto.

18          6.       Extending the foregoing deadline will not impact any other deadlines in this case.

19   The Hearing Date on Defendant’s Motion is currently set for September 1, 2022. See Dkt No.
20   17.
21
            7.       No other extensions have been sought or granted in this case.
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            In light of the above, Plaintiff respectfully requests the Court to grant this motion and
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25   extend the deadline for it to file its Opposition to Defendant’s Motion from March 15, 2022 to

26   March 18, 2022.

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                 PLAINTIFF’S OPPOSED MOTION TO EXTEND TIME TO RESPOND TO MOTION TO DISMISS
                                         PURSUANT TO CIVIL L.R. 6-2(a)
            Case 5:21-cv-09775-EJD Document 28 Filed 03/16/22 Page 3 of 4



     DATED: March 15, 2022                          Respectfully submitted,
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             PLAINTIFF’S OPPOSED MOTION TO EXTEND TIME TO RESPOND TO MOTION TO DISMISS
                                     PURSUANT TO CIVIL L.R. 6-2(a)
               Case 5:21-cv-09775-EJD Document 28 Filed 03/16/22 Page 4 of 4




1
                                       [PROPOSED] ORDER
2

3             PURSUANT TO STIPULATION, IT IS SO ORDERED

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5    Dated:                                            By:
6                                                            Honorable Edward J. Davila

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                PLAINTIFF’S OPPOSED MOTION TO EXTEND TIME TO RESPOND TO MOTION TO DISMISS
                                        PURSUANT TO CIVIL L.R. 6-2(a)
